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                                                                                                                                       _      LODGED
AO 93 (Rev. 11/13) Search and Seizure Warrant                                                                  _      RECEIVED


                                           UNITED STATES DISTRICT Co                                          T          SEP Q 1 2022
                                                                             for the                            CLERK U S D1$TRICT COURT
                                                                                                                    DISTRICT OF ARIZONA
                                                                      District of Arizona                     BY                    DEPUTY

                  In the Matter of the Search of                                )
              {Briefly describe the property to be searched                     )
               or identify the person by name and address)                      )      Case No. 22-4323mb
      Residence located 3 Miles NE of Old Valley Store, Many                    )
       Farms/Chinle, AZ and field surrounding residence at                      )
       approximate GPS coordinates 36.29973, -109.59905                         )

                                                  SEARCH AND SEIZURE WARRANT
To:       Any authorized law enforcement officer
         An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the   _ _ __ __ _ _ District of                            Arizona
(identify the person or describe the property to be searched and give its location):

      Residence located 3 Miles NE of Old Valley Store, Many Farms/Chinle, AZ and field surrounding residence at approximate
      GPS coordinates 36.29973, -109.59905, otherwise known as the target residence.




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
      Evidence of the crime to include knives and sharp edged tools .




        YOU ARE COMMANDED to execute this warrant on or before September 9, 2022                       (not to exceed 14 days)
      ~ in the daytime 6:00 a.m. to 10:00 p.m. 0 at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from w.hose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to Any Magistrate Judge in Arizona on duty
                                                                                                   (United States Magis trate Judge)

     0 Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     0 for _ _ days (not to exceed 30) □ until, the facts justifying, the later specific date of
                                                                                                          •          ., Digita lly signed by Camille D.
                                                                                       Camille D. B1bles\E!t1?Jes
Date and time issued:          _ _ _ __ _ _ _ _ _ _ _ _                                                            . ' · Date: 2022.08.26 14:03:32-0T00'
                                                                                                              Judge's signature

City and state:             Flagstaff, AZ                                                Honorable Camille D. Bibles, U.S. Magistrate Judge
                                                                                                         Printed name and title
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                                                                         Return
      Case No.:                                Date and time warrant executed:         Copy of warrant and inventory left with:
         22-4323mb                              <oDl I>~ <\ ·,)C'l A A                  Gr .. - .. ..-\~ ..         J.\,v        ~ .. ~,-J-... -
      Inventory made in the presence of :                                                         .                      r
              Go..\.\-.~     i;\       S'f't-Li•\       A,T-t~
      Inventory of the property taken and name of any person(s) seized:


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                                                                       Certification


              I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
      designated judge.



      Date:
                                                                                          1
                                                                                              f ( Executing officer's signature

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                                                                                                      Printed name and title '
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